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Case 1:01-cv-12257-PBS Document 7430-1 Filed 02/18/11 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MDL No. 1456
IN RE PHARMACEUTICAL INDUSTRY Master File No. 01-CV-12257-PBS
AVERAGE WHOLESALE PRICE Subcategory No. 07-12141-PBS
LITIGATION Subcategory No. 03-10643-PBS
THIS DOCUMENT RELATES TO: Judge Patti B. Saris
State of lowa y. Abbott Laboratories, et al.
- and -

The City of New York, et al. vy. Abbott
Laboratories, Inc., et al.

PRO HAC VICE DECLARATION OF ALEX E. SADLER

I. | am a partner with the firm of Crowell & Moring, LLP, in Washington, DC,
which is serving as counsel in this matter to defendant Purepac Pharmaceutical Company. |
submit this declaration in support of my admission pro hac vice to the bar of this Court, pursuant
to paragraph 16 of Case Management Order No. |.

2. ] am an attorney duly licensed to practice law in the State of Maryland and the
District of Columbia. | have been admitted to practice before the United States Court of Appeals
for the Federal Circuit, the United States District Courts for the District of Columbia, the District
of Maryland, and the Central District of Illinois, the United States Court of Federal Claims, and
the United States Tax Court,

3. | am a member of the bar in good standing in every jurisdiction where | have been

admitted. There have been and are no disciplinary actions pending against me, and | am familiar

with the Local Rules of the U.S. District Court for the District of Massachusetts.

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Case 1:01-cv-12257-PBS Document 7430-1 Filed 02/18/11 Page 2 of 2

I declare under penalty of perjury that the foregoing is true and correct. Executed on

February 16, 2011.

Alex E. Sadfer /

